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                         EXHIBIT A
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    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                          WEST PALM BEACH DIVISION
                             CASE NO. 19-81160-CIVIL-SMITH
    3

    4    APPLE, INC.,                             West Palm Beach, Florida

    5                      Plaintiff,             February 12, 2020
                                                        -and-
    6                vs.                          February 13, 2020

    7    CORELLIUM, LLC,

    8                   Defendant.          Pages 1 to 368
         ______________________________________________________________
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   10                              MOTION HEARING
                      BEFORE THE HONORABLE WILLIAM MATTHEWMAN,
   11                      UNITED STATES MAGISTRATE JUDGE
                   (TRANSCRIBED FROM THE DIGITAL AUDIO RECORDING)
   12
         APPEARANCES:
   13

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    1              MR. LEVINE:    We can probably put that in the affidavit,

    2    sir.

    3              THE COURT:    I mean, if they're concerned about that.

    4              But the problem I'm having is you seem to accept your

    5    client's position as gospel and your argument seems to be:

    6    This is the way it is.      Therefore, Apple has no right to

    7    discover into any other alternative explanation of what

    8    Corellium is doing.

    9              And that's not the way it works.       Apple has a right to

   10    find out this product that they're alleging is infringing on

   11    their copyright.     They have a right to understand what

   12    Corellium has done by taking their iOS or utilizing their

   13    files, their proprietary information and what they've done with

   14    this inside Corellium that violated copyright.

   15              And I understand you're saying that this is a virtue --

   16    a visualization project or a virtualization product.           But they

   17    need to get sufficient discovery in order for them to determine

   18    if that argument is correct or not.

   19              MR. LEVINE:    Right.

   20              So I think the point that I've made consistent

   21    throughout today's proceedings as well as through our

   22    conferrals is that we concede that code, function, design, use

   23    as it relates to the virtualization of iOS would be -- would be

   24    discoverable.

   25              Anything relating to their core product, hypervisor,
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    1    purported product that Apple puts out that we are -- that's the

    2    subject of a copyright DMCA action.

    3               So we've already advised them in a response for request

    4    for admission, and we will respond that we don't have any

    5    contracts, any contracts whatsoever, or any agreements with the

    6    Federal Government.

    7               They want now if we have discussions with -- and

    8    documents regarding discussions with the Federal Government.

    9    Well, frankly, I don't know even if it exists.          But that does

   10    not go to the very nature of the specific allegations in this

   11    case.

   12               And we have --

   13               THE COURT:   They're asking for discussions.       They're

   14    asking for an informal understanding.

   15               MR. VINE:    Well, we don't -- so they are -- the

   16    Government may be an end user.       We already have our list of

   17    clients.    They weren't listed on that list.       They can ask at

   18    depositions a similar question.

   19               And Judge Reinhart, who I've been before a number of

   20    times, says:    Sometimes people should take corporate rep

   21    depositions in the beginning; and sometimes the judges allow

   22    it, too, because you can find out -- instead of sending

   23    hundreds of requests for production, you can find out kind of

   24    the gamut of what exists.

   25               So to me, if there's any inquiry about, quote,
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    1               MR. LEVINE:   It's framed by the pleadings.

    2               THE COURT:    So what I'm trying to understand is if --

    3    let's assume that a Federal Government agency or employee has

    4    the Corellium Apple product and you're calling it not a sale

    5    and not commercialization.

    6               Isn't the other side entitled to look at that and see

    7    if it is sale or commercialization?        Or do they just have to

    8    accept your word it isn't?

    9               MR. VINE:    I think we're talking about apples and

   10    oranges, because I think, your Honor, the way it was just

   11    framed, that would make, you know, a little -- you know, it

   12    would make sense.

   13               But that's not what's happening.

   14               We sell the product to specific people.       And that's all

   15    we do.   We don't just give the product out for free in that --

   16    in that sense.     We sell the product.

   17               And, more importantly, the product at issue is under --

   18    the issue that we're dealing with is a copyright infringement.

   19    So what are the elements of copyright versus fair use?           None of

   20    the issues as it relates to any interactions with the Federal

   21    Government --

   22               THE COURT:    Are you concerned that you've sold it to

   23    somebody who has given it to the US Government?          Is that the

   24    concern?

   25               MR. VINE:    No.   We have overriding concerns that we
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    1    tried to with the stipulation -- tried to address without --

    2    not coming in here.     But there's national security concerns

    3    that --

    4              THE COURT:    So why doesn't the Federal Government come

    5    in here to raise concerns?

    6              MR. VINE:    I --

    7              Do you want -- you can address that point.

    8              MR. LEVINE:    Yeah.

    9              So actually, your Honor, we're trying to resolve it

   10    here.   If not, then maybe the case.

   11              THE COURT:    Well, I mean, usually, when the Federal

   12    Government has a national security concern, they're not shy

   13    about coming into court and asserting it.

   14              MR. VINE:    But I really want to veer away from that

   15    issue because, frankly, we don't need to get to that point

   16    because, while I understand Rule 26.1 allows obviously some

   17    broad discovery, there's also limitations.         And there's case

   18    law.    And the Southern District is very clear on these

   19    limitations.

   20              By us agreeing to the core of what they need for their

   21    elements to prove their case or disprove or -- any of our

   22    affirmative defenses, by us responding by our proposal, that's

   23    exactly what they need.

   24              It's not -- it's not me just saying:        Trust me.

   25    It's -- no.    It's me saying:     We don't have any contracts or
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    1    involved on Defendant's side had said something that made it a

    2    very central issue in our view to understand more fully the

    3    nature of this relationship or alleged relationship, because it

    4    would have been potentially impairing all of our requested

    5    relief in the action.

    6              And so we had to seek discovery on it.

    7              THE COURT:    Okay.   So let me just --

    8              MS. STEBBINS BINA:     So that --

    9              THE COURT:    Let me tell you what my position is on

   10    this, because I did look at this.

   11                                                                            I

   12    don't think matters in this case.

   13              However, the only thing that might matter is whether

   14              uses the allegedly infringed product by giving it to

   15                or selling it to               or allowing         to use

   16    it.

   17              I think that could be relevant in this case.

   18              MR. LEVINE:    I can clarify that.     I'll go on the record

   19    right now and say that is not the case and that does not

   20    happen.

   21              MR. GAUKROGER:    And we agreed to that yesterday.

   22              MS. STEBBINS BINA:     And, your Honor, in terms of the

   23    sealing motion, obviously,

   24                                                                    or

   25    anything along those lines.
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    1    soon as we get them all done.

    2              And then just keep in mind we need to be back here --

    3    we need to have all this production done by the 24th and then

    4    we'll be back here on the 27th at 10:00 a.m.         All right?

    5              MR. LEVINE:    Thank you, your Honor.

    6              MS. STEBBINS BINA:     Your Honor, thank you.

    7              THE COURT:    Have a good day.

    8              MS. STEBBINS BINA:     Thank you.

    9              THE COURT:    Court's in recess.

   10              (Proceedings concluded.)

   11

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   13
                                 C E R T I F I C A T E
   14

   15                I hereby certify that the foregoing is an

   16    accurate transcription of the proceedings in the

   17    above-entitled matter to the best of my ability.

   18

   19
         ____________            /s/Lisa Edwards
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